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                    UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MASSACHUSETTS
______________________________
                               )
IN RE:                         )
                               )       CHAPTER 11
TRI-CITY COMMUNITY             )       CASE NO. 15-11569-JNF
ACTION PROGRAM, INC            )
                               )
            DEBTOR             )
______________________________)

       APPLICATION OF KATE E. NICHOLSON FOR COMPENSATION AND
                    REIMBURSEMENT OF EXPENSES AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       Kate E. Nicholson of Nicholson Herrick LLP, formerly Nicholson Shepard LLC, hereby

submits her first and final application for compensation for services rendered and expenses

incurred as counsel to The Official Committee of Unsecured Creditors of Tri-City Community

Action Program, Inc. (“Committee”) pursuant to 11 U.S.C. § 330, Fed. R. Bankr. P. 2016, and

MLBR 2016-1. Ms. Nicholson is applying for compensation and reimbursement for the period

from June 29, 2015 through December 28, 2017 in the total amount of $27,780.12. In support of

this application, Ms. Nicholson represents as follows:

       1.      On April 23, 2015, the debtor, Tri-City Community Action Program, Inc.

   (“Debtor”), filed a voluntary petition under Chapter 11 of the Bankruptcy Code.

       2.      On June 5, 2015, the Office of the United States Trustee appointed three of the

   Debtor’s largest unsecured creditors to serve as members of the Committee.

       3.      The Committee consisted of Michael A. Sticca d/b/a Sticca Contracting

   Company, Joseph DeRenzis, Trustee, A.M.G. Realty Trust, and Glen Alexander d/b/a

   Alexander Construction.

       4.      On June 29, 2015, the Committee filed an application to employ Kate E.

   Nicholson and her predecessor firm, Nicholson Shepard LLC, as its counsel.


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        5.       Ms. Nicholson’s employment was approved by this Court on July 9, 2015. A

 copy of the Order Authorizing Employment of Counsel is attached hereto as Exhibit A.

        6.       Ms. Nicholson seeks the allowance of compensation for actual reasonable and

 necessary services rendered to the Committee and expenses incurred for the period from June

 29, 2015 through December 28, 2017.

        7.       Ms. Nicholson expended 113.8 hours of professional services (including 4.1 hours

 at no charge) for a total of $27,425.00 in legal fees and $355.12 in expenses.

        8.       In support of this Application, the following information is provided in the

 attached exhibits:

 (I)          a summary chart showing the name, number of hours worked, hourly rate and total
              compensation sought for each attorney and paralegal who provided services to the
              Estate (Exhibit B);

 (II)         a narrative summary of the services rendered in accordance with MLBR 2016-1
              (Exhibit C);

 (III)        a detailed description of the day-to-day services rendered by each attorney and
              paralegal who provided services to the Estate, compiled from time records maintained
              by Nicholson Shepard LLC and Nicholson Herrick LLP (Exhibit D);

 (IV)         an itemization of the expenses incurred by Ms. Nicholson (Exhibit D); and,

 (V)          a brief biography of each attorney and paralegal included in this application (Exhibit
              E).

        9.       Ms. Nicholson has neither previously applied for nor received any compensation

 in connection with the services rendered in this proceeding.

        10.      Ms. Nicholson has not agreed to share the compensation sought in this

 Application with any person other than members of her firm.




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   WHEREFORE, the Applicant requests that this Court enter an order allowing the sum of
$27,780.12 as final compensation for services rendered.

                                             Respectfully submitted,


                                             /s/ Kate E. Nicholson
                                             Kate E. Nicholson (BBO# 674842)
                                             Nicholson Herrick LLP
                                             21 Bishop Allen Dr.
                                             Cambridge, MA 02139
                                             (857) 600-0508
                                             knicholson@nicholsonherrick.com
Dated: July 3, 2018




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                                                                EXHIBIT A
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                                                                               EXHIBIT B

                     I. CHART SUMMARIZING FEES AND EXPENSES

          During the period of June 29, 2015 through December 28, 2017, Ms. Nicholson
 rendered substantial legal services on behalf of the Committee. The name, number of
 hours worked, hourly rate, and total amount of compensation sought for Ms. Nicholson
 and her staff is as follows:

  Name                          Hours        Hourly Rate          Compensation

 Kate E. Nicholson              109.7        $250.00              $27,425.00
 (KN) (Attorney)

 Kate E. Nicholson              4.1          $0.00                $0.00
 (KN) (Attorney)

 Total:                                                           $27,425.00




 The total expense reimbursement sought is as follows:


 Expense                        Quantity     Cost                 Reimbursement
 Postage                        268          .49                  $131.32

 Copying                        1492         .15                  $223.80

 Total:                                                           $355.12
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                       II. NARRATIVE SUMMARY OF SERVICES

        The debtor, Tri-City Community Action Program, Inc. (“Debtor”), filed a petition
 for relief under chapter 11 of the Bankruptcy Code on April 23, 2015. Approximately six
 weeks later, The Official Committee of Unsecured Creditors of Tri-City Community
 Action Program, Inc. (“Committee”) was formed, consisting of three of the Debtor’s
 largest unsecured creditors. The Committee applied for authority to employ Kate E.
 Nicholson as counsel, which was granted by this Court on July 9, 2015. Ms. Nicholson
 worked on behalf of the Committee for the next two and a half years. During this time,
 she performed the duties incumbent upon Committee counsel. She held regular meetings
 with the Committee to discuss developments in the Debtor’s case and worked closely
 with the Debtor and other parties-in-interest to maximize the recovery for unsecured
 creditors in a case involving the liquidation of a non-for-profit entity. In addition to the
 regular and necessary work of staying in close contact with the Committee, reviewing the
 Debtor’s activities, and participating in the process of vetting the plan and disclosure
 statement, Ms. Nicholson’s representation of the Committee involved four major issues:
 1) the Debtor’s redemption of its share in 54 Eastern Ave Malden, LLC; 2) the attempt by
 the United States Department of Health and Human Services (“HHS”) to reclaim the
 Debtor’s school buses; 3) negotiations with the Massachusetts Department of Housing
 and Community Development (“DHCD”), Eagle Bank, and Boston Gas regarding the
 potential recovery and distribution of approximately $300,000.00 Eagle Bank swept from
 the Debtor’s account pre-petition, and 4) claims against the Debtor’s directors and
 officers for breach of their fiduciary duties.
        At the time of the case filing, the Debtor owned a 53.3% interest in 54 Eastern
 Ave. Malden, LLC (“54 Eastern”). The remaining 46.7% of 54 Eastern was owned by
 Bread of Life, LLC. The purpose of 54 Eastern was to develop the property at 54 Eastern
 Ave, Malden, MA to provide certain social services, but the development of this project
 was interrupted by the Debtor’s financial difficulties. The Debtor could not continue with
 the project and instead sought to recover its contributions to 54 Eastern of approximately
 $100,000.00, resolve all claims between it and Bread of Life, LLC, and be released from
 its guaranty of the senior project lien. In conjunction with the Debtor, Ms. Nicholson
 negotiated on behalf of the Committee to ensure that the Debtor’s contributions will be
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 among the first expenses paid from project financing or alongside any reimbursements to
 Bread of Life. Finally, she reviewed and revised the settlement documents to ensure they
 represented this agreement.
         Ms. Nicholson also negotiated an agreement with HHS, by and through its
 agency, the Administration for Children and Families (“ACF”), for fair compensation for
 the transfer to ACF of the Debtor’s two school buses, worth approximately $38,000.00.
 ACF had filed a motion seeking a determination that the buses were not part of the
 Debtor’s bankruptcy estate or in the alternative, for relief from stay in order to take
 possession of the buses. ACF argued that the buses were the property of the government
 because they were purchased with government funded grant money. The Debtor
 acquiesced to ACF’s motion for relief. Ms. Nicholson, however, opposed ACF’s motion
 on behalf of the Committee, arguing that the government would have the burden of proof
 in showing that the buses were purchased with government funds and would be unable to
 sustain this burden due to the Debtor’s accounting practices. Ms. Nicholson ultimately
 negotiated with ACF for payment to the Debtor of $24,542.93 less storage costs, and
 negotiated with the Debtor that the payment for the buses would be held in escrow and
 distributed to unsecured creditors. Finally, Ms. Nicholson obtained Eagle Bank’s assent
 to the compromise, which extinguished any claim they may have had to the buses as
 collateral.
         Shortly before the bankruptcy case filing, Eagle Bank (“Eagle”) setoff the
 Debtor’s accounts to pay the full amount of the Debtor’s outstanding liabilities to Eagle -
 -approximately $300,000.00 (“Setoff Funds”). The provenance of these funds and their
 rightful disposition were crucial issues for the Debtor to be able to propose a plan that
 would provide a meaningful distribution to unsecured creditors and garner the
 Committee’s support. DHCD, Boston Gas and Eagle all claimed the funds were
 rightfully theirs. In conjunction with the Debtor, Ms. Nicholson engaged in extensive
 negotiations over several months with all parties to reach a global settlement of the
 competing claims to the Setoff Funds that ultimately resulted in unsecured creditors
 receiving an approximately 17% dividend though the plan.
         Finally, on behalf of the Committee, Ms. Nicholson ensured that the Debtor’s
 claims against its directors and officers were preserved and pursued. Ms. Nicholson
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 interviewed potential special counsel and based on the Committee’s recommendation,
 ultimately negotiated an agreement with Jager Smith, P.C. whereby it would investigate
 the viability of bringing these claims and cap its fees for doing so. Ms. Nicholson revised
 and filed the application to employ Jager Smith as special counsel to the Committee and,
 after the investigation was complete, prepared and filed a motion to grant the Committee
 derivative standing to bring claims against two of the Debtor’s directors and officers,
 which was allowed by the Court. In addition, due to the dissolution of Jager Smith, it
 was necessary for the Committee to find successor counsel to prepare and file the
 complaint against the Debtor’s former directors and officers of interest. Ms. Nicholson
 interviewed several potential attorneys on behalf of the Committee and ultimately
 engaged Jesse Redlener as special counsel to the Committee. Ms. Nicholson prepared
 and filed an application to employ Mr. Redlener and his prior firm, Dalton & Finegold,
 LLP. The litigation against the Debtor’s directors and officers has been transfered to the
 creditor trust pursuant to the plan and is on-going.
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                                                                                                     EXHIBIT D

Nicholson Herrick LLP
21 Bishop Allen Dr.
Cambridge, MA 02139




Official Committee of Unsecured Creditors,Tri-City                                                 Invoice 20243
Community Action Prog.
c/o Joseph DeRenzis                                                                                Date    Jul 02, 2018
41 Rivers Lane
                                                                                                 Terms
Melrose, MA 02176
Email: josephderenzis@comcast.net                                                          Service Thru    Jul 02, 2018




In Reference To: Tri-CAP (Services)

 Date         By        Services                                                   Hours          Rates        Amount
 06/29/2015   KN        Prepare and file Application to Employ Nicholson           0.80      $ 250.00/hr      $ 200.00
                        Shepard LLC as counsel to the Official Committee of
                        Unsecured Creditors with affidavit and certificate of
                        service
 06/29/2015   KN        Review debtor's schedules, statement of financial          1.30      $ 250.00/hr      $ 325.00
                        affairs and related documents in preparation for call
                        with J. Morrier
 06/29/2015   KN        Phone call with debtor's attorney, J. Morrier, regarding   1.10      $ 250.00/hr      $ 275.00
                        Creditors' Committee and debtor's plan for case
 07/01/2015   KN        Email J. Morrier request for documentation (MORs,          0.30      $ 250.00/hr        $ 75.00
                        insurance, etc.)
 07/02/2015   KN        Draft email to CC detailing conversation with J. Morrier   1.10      $ 250.00/hr      $ 275.00
 07/08/2015   KN        Review emails from J. Morrier attaching D&O policy,        0.10      $ 250.00/hr        $ 25.00
                        2014 audit and related documents
 07/13/2015   KN        Phone call with J. Morrier regarding status of sale        0.30      $ 250.00/hr        $ 75.00
                        negotiations and additional requested documentation
 07/15/2015   KN        Phone call with J. Morrier regarding 54 Eastern Ave.       0.30      $ 250.00/hr        $ 75.00
                        Malden LLC, proposed sale of real estate and request
                        for additional information
 07/15/2015   KN        Review Tri-CAP asset and liability documentation           3.40      $ 250.00/hr      $ 850.00
                        (security agreements, taxes, real estate
                        assessments, etc.)
 07/15/2015   KN        Email J. DeRenzis regarding valuation of real estate       0.10      $ 250.00/hr        $ 25.00
 07/15/2015   KN        Email Committee regarding next meeting and updates         0.10      $ 250.00/hr        $ 25.00
 07/15/2015   KN        Phone call with J. DeRenzis regarding valuation of real    0.20      $ 250.00/hr        $ 50.00
                        estate and D&O policy; email client D&O policy




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07/17/2015   KN    Phone call with B. Mockler from US Attorney's office      0.30   $ 250.00/hr      $ 75.00
                   regarding Tri-CAP buses and MFR
07/27/2015   KN    Email J. Morrier regarding 54 Eastern settlement, bus     0.10   $ 250.00/hr      $ 25.00
                   titles, and title run-down for properties
08/07/2015   KN    Review proposed agreement for redemption of debtor's      1.10   $ 250.00/hr     $ 275.00
                   share of 54 Eastern Ave Malden LLC, letter of intent
                   and operating agreement
08/07/2015   KN    Phone call with J. Morrier regarding debtor's proposed    1.10   $ 250.00/hr     $ 275.00
                   exit from LLC, sale of debtor's real estate, MFR w/r/t
                   buses, and related matters
08/07/2015   KN    Phone call with committee regarding debtor's              0.80   $ 250.00/hr     $ 200.00
                   proposed exit from LLC, sale of debtor's real estate,
                   MFR w/r/t buses, and related matters
08/11/2015   KN    Email J. Morrier regarding Tri-CAP vehicle expenses       0.10   $ 250.00/hr      $ 25.00
                   and account set-off
08/13/2015   KN    Review Debtor's Motion for Authority to Extend the        0.20   $ 250.00/hr      $ 50.00
                   Expiration Date of Its Prepetition Guaranty of an
                   Affiliate's Mortgage, Assented to Motion to Set Bar
                   Date, and Debtor's Statement of No Opposition to
                   HHS's Motion for Relief from Stay
08/13/2015   KN    Review HHS's Motion for Determination that Certain        0.60   $ 250.00/hr     $ 150.00
                   Property Is Not Property of the Bankruptcy Estate, or
                   in the Alternative, Relief from the Automatic Stay plus
                   exhibits
08/14/2015   KN    Phone call with J. Morrier regarding 54 Eastern           0.40   $ 250.00/hr     $ 100.00
                   Avenue, Malden LLC and related matters
08/17/2015   KN    Prepare for and facilitate Creditors Committee meeting    1.00   $ 250.00/hr     $ 250.00
08/18/2015   KN    Review Notice of Deadline to File Proofs of Claim or      0.10   $ 250.00/hr      $ 25.00
                   Requests for Payment of Administrative Claims
                   Against the Debtor
08/18/2015   KN    Prepare and file Statement of No Opposition to            0.30   $ 250.00/hr      $ 75.00
                   Debtor's Motion to Extend Guaranty w/r/t Century
                   Bank loan to 54 Eastern Ave
08/19/2015   KN    Research law surrounding property purchased with          3.20   $ 250.00/hr     $ 800.00
                   federal grant funds and property of the bankruptcy
                   estate
08/20/2015   KN    Review revised term sheet for redemption of Tri-Cap's     0.80   $ 250.00/hr     $ 200.00
                   share of 54 Eastern LLC; email to J. Morrier regarding
                   same
08/21/2015   KN    Phone call with J. Morrier regarding revised term sheet   0.30   $ 250.00/hr      $ 75.00
                   with 54 Eastern
08/21/2015   KN    Phone call and follow-up email to G. Howell, counsel      1.40   $ 250.00/hr     $ 350.00
                   to Bread of Life, regarding revised term sheet with 54
                   Eastern
08/25/2015   KN    Review further revisions to 54 Eastern/Bread of Life      0.30   $ 250.00/hr      $ 75.00
                   term sheet; email J. Morrier and G. Howell regarding
                   final edits




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08/26/2015   KN    Further research intersection of estate property and      2.10   $ 250.00/hr     $ 525.00
                   property purchased with gov't funds; commence
                   drafting Opposition to HHS's Motion for Determination
                   Property Not Property of the Estate or in the
                   Alternative, Relief from Stay
08/26/2015   KN    Email client final term sheet for Tri-CAP exit from 54    0.40   $ 250.00/hr     $ 100.00
                   Eastern with explanation and recommendation
08/27/2015   KN    Draft, finalize and file Opposition to HHS's Motion for   7.10   $ 250.00/hr   $ 1,775.00
                   Determination Property Not Property of the Estate or
                   in the Alternative, Relief from Stay
08/27/2015   KN    Email exchange with J. Morrier regarding relationship     0.10   $ 250.00/hr      $ 25.00
                   between Eagle Bank and Tri-CAP
08/29/2015   KN    Email client Opposition to HHS's Motion for Relief and    0.10   $ 250.00/hr      $ 25.00
                   Motion to Compromise 54 Eastern
08/31/2015   KN    Draft and file Statement in Support of Debtor's Motion    0.30   $ 250.00/hr      $ 75.00
                   to Compromise
09/02/2015   KN    Prepare for and conduct meeting of Creditors              0.70   $ 250.00/hr     $ 175.00
                   Committee
09/08/2015   KN    Email B. Mockler re location of Tri-CAP buses             0.10   $ 250.00/hr      $ 25.00
09/09/2015   KN    Review Amended Schedules Matrix filed by Debtor           0.10   $ 250.00/hr      $ 25.00
09/10/2015   KN    Prepare for and attend hearings on Motion to Approve      1.50   $ 250.00/hr     $ 375.00
                   Compromise regarding 54 Eastern Ave Malden LLC
                   and Motion for Authority to Extend Guaranty of
                   Affiliate's Mortgage
09/11/2015   KN    Email G. Erhlich regarding proposed 54 Eastern            0.10   $ 250.00/hr      $ 25.00
                   settlement and Century Bank's position
09/21/2015   KN    Prepare for and participate in conference call with B.    0.30   $ 250.00/hr      $ 75.00
                   Mockler and J. Williams regarding Tri-CAP buses
09/22/2015   KN    Review and respond to email from J. Morrier regarding     0.10   $ 250.00/hr      $ 25.00
                   debtor's anticipated affordable housing transaction
09/28/2015   KN    Email exchange with G. Ehlrich and J. Morrier             0.30   $ 250.00/hr      $ 75.00
                   regarding Century Bank conditions to 54 Eastern Ave
                   Malden LLC compromise
09/29/2015   KN    Phone call with J. Morrier regarding Century Bank         0.20   $ 250.00/hr      $ 50.00
                   conditions to 54 Eastern LLC compromise
09/29/2015   KN    Email client regarding ACF offer for buses                0.20   $ 250.00/hr      $ 50.00
10/01/2015   KN    Prepare for and conduct Creditors Committee meeting       5.20   $ 250.00/hr   $ 1,300.00
                   (Malden)
10/01/2015   KN    Phone call with J. Morrier regarding 54 Eastern, sale     0.60   $ 250.00/hr     $ 150.00
                   of affordable housing buildings, Ch. 11 plan, etc.
10/02/2015   KN    Review email from G. Ehrlich attaching promissory         0.20   $ 250.00/hr      $ 50.00
                   note w/r/t 54 Eastern
10/02/2015   KN    Email J. Morrier regarding proposed intercreditor         0.20   $ 250.00/hr      $ 50.00
                   agreement and security interest for Century Bank
10/05/2015   KN    Review cases cited by ACF w/r/t burden of proof;          0.50   $ 250.00/hr     $ 125.00
                   email J. Williams counteroffer w/r/t Tri-CAP buses




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10/08/2015   KN    Review Assented to Motion filed by U.S. Department        0.10   $ 250.00/hr      $ 25.00
                   of Health and Human Services to Continue Hearing
10/16/2015   KN    Conference call with F. McGinn and representatives        0.50   $ 250.00/hr     $ 125.00
                   from DHCD regarding claims, Eagle Bank sweep of
                   LIHEAP funds, and Committee's position on separate
                   classification
10/20/2015   KN    Conference call with F. McGinn and representatives        0.50   $ 250.00/hr     $ 125.00
                   from DHCD regarding claims, Eagle Bank sweep of
                   LIHEAP funds, affordable housing transaction, and
                   Committee's position on separate classification
10/25/2015   KN    Draft Stipulation between Debtor, Committee and ACF       4.50   $ 250.00/hr   $ 1,125.00
                   w/r/t two school buses and motion to approve same
10/25/2015   KN    Email draft stipulation w/r/t buses to opposing counsel   0.20   $ 250.00/hr      $ 50.00
10/26/2015   KN    Review comments from opposing counsel on draft            0.10   $ 250.00/hr      $ 25.00
                   stipulation
10/26/2015   KN    Email counsel to Eagle Bank regarding lien on Tri-Cap     0.30   $ 250.00/hr      $ 75.00
                   buses; phone call with counsel regarding same
10/27/2015   KN    Email counsel to Eagle Bank seeking Eagle Bank's          0.20   $ 250.00/hr      $ 50.00
                   support of settlement with ACF
11/03/2015   KN    Further revise proposed settlement based on               0.30   $ 250.00/hr      $ 75.00
                   comments from Eagle Bank; email opposing counsel
                   re same
11/04/2015   KN    Email exchange with opposing counsel and counsel          0.20   $ 250.00/hr      $ 50.00
                   to Eagle Bank re finalized stipulation and Eagle
                   Bank's assent
11/06/2015   KN    Finalize and file Expedited Motion to Approve             0.30   $ 250.00/hr      $ 75.00
                   Compromise Under Rule 9019 with Exhibits and COS;
                   Review Order granting expedited treatment; prepare
                   and file certificate of service re: Notice of Objection
                   Deadline re: Order on Motion to Compromise
11/06/2015   KN    Review Debtor's Notice of Intent to Abandon Selected      0.20   $ 250.00/hr      $ 50.00
                   Books, Records and Personal Property
11/16/2015   KN    Review Order approving Motion to Compromise with          0.10   $ 250.00/hr      $ 25.00
                   ACF
11/20/2015   KN    Review Limited Objection filed by U.S. Department of      0.10   $ 250.00/hr      $ 25.00
                   Health and Human Services to Debtor's Notice of
                   Intent to Abandon Property
11/23/2015   KN    Review Response Resolving the Limited Objection of        0.10   $ 250.00/hr      $ 25.00
                   the Department of Health and Human Services to the
                   Debtor's Notice of Abandonment
12/09/2015   KN    Email counsel to ACF regarding actual transfer of         0.10   $ 250.00/hr      $ 25.00
                   buses
12/22/2015   KN    Prepare for and meet with J. Morrier regarding claims,    1.90   $ 250.00/hr     $ 475.00
                   plan, separate classification, etc.
01/11/2016   KN    Prepare for and conduct meeting of Creditors              1.20   $ 250.00/hr     $ 300.00
                   Committee
01/14/2016   KN    Email J. Green at AG's office regarding audit of debtor   0.10   $ 250.00/hr      $ 25.00
01/15/2016   KN    Email F. McGinn regarding DHCD's audit of debtor          0.10   $ 250.00/hr      $ 25.00



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01/15/2016   KN    Prepare for and meet with J. Horne and M. Fencer       2.40   $ 250.00/hr     $ 600.00
                   regarding potential claims against Directors and
                   Officers of Tri-CAP
01/18/2016   KN    Email J. Morrier regarding D&O policy; review and      0.10   $ 250.00/hr      $ 25.00
                   respond to email from M. Fencer regarding same
01/25/2016   KN    Review proposed fee agreement with Jager Smith;        0.40   $ 250.00/hr     $ 100.00
                   email M. Fencer regarding same
02/02/2016   KN    Creditors Committee meeting to discuss D&O             1.20   $ 250.00/hr     $ 300.00
                   litigation
02/09/2016   KN    Draft email to M. Fencer regarding potential fee       0.70   $ 250.00/hr     $ 175.00
                   agreement; email to Committee regarding same
02/09/2016   KN    Email client regarding creditors committee meeting     0.20   $ 250.00/hr      $ 50.00
                   and potential fee agreement with Jager Smith
02/12/2016   KN    Email and phone call with M. Fencer regarding fee      0.20   $ 250.00/hr      $ 50.00
                   agreement; email client regarding same
02/17/2016   KN    Email exchange with M. Fencer and J. Horne             0.10   $ 250.00/hr      $ 25.00
                   regarding employment as special counsel
02/18/2016   KN    Email and phone call with M. Fencer and J. Horne       0.20   $ 250.00/hr      $ 50.00
                   regarding fee application and investigation
02/19/2016   KN    Email exchange with J. Morrier re Committee's intent   0.10   $ 250.00/hr      $ 25.00
                   to employ Jager Smith
02/22/2016   KN    Finalize and file Application to Employ Special        0.20   $ 250.00/hr      $ 50.00
                   Counsel
02/22/2016   KN    Phone call with F. McGinn regarding DHCD's position    0.10   $ 250.00/hr      $ 25.00
                   vis a vis Eagle Bank
02/22/2016   KN    Phone call with P. Bachtell regarding status of case   0.10   $ 250.00/hr      $ 25.00
02/22/2016   KN    Review and respond to email from DOJ regarding         0.10   $ 250.00/hr      $ 25.00
                   transfer of buses
02/23/2016   KN    Review Expedited Motion for 2004 Examinations          0.10     $ 0.00/hr   No Charge
02/23/2016   KN    Phone call with J. Morrier regarding possible plan     0.50   $ 250.00/hr     $ 125.00
                   terms, Eagle Bank, and DHCD issues
02/23/2016   KN    Email with M. Fencer and J. Horne regarding            0.10     $ 0.00/hr   No Charge
                   Committee meeting and call with F. McGinn
02/24/2016   KN    Prepare for and conduct Creditors Committee meeting    1.20   $ 250.00/hr     $ 300.00
02/24/2016   KN    Email client Debtor's claims analysis and proofs of    0.10   $ 250.00/hr      $ 25.00
                   claims for review
02/27/2016   KN    Review Debtor's claims analysis and proofs of claims   1.90   $ 250.00/hr     $ 475.00
02/29/2016   KN    Email F. McGinn re DHCD audit                          0.10   $ 250.00/hr      $ 25.00
03/02/2016   KN    Review Order re: Application to Employ Jager Smith     0.10   $ 250.00/hr      $ 25.00
                   P.C. as Special Counsel;
                   Review Allowed Order re: Expedited Motion for 2004
                   Examinations
03/02/2016   KN    Review and respond to email from F. McGinn             0.10   $ 250.00/hr      $ 25.00
                   regarding DHCD audit
03/23/2016   KN    Email exchange with representative of US Bank          0.10   $ 250.00/hr      $ 25.00
                   regarding copiers abandoned by Debtor



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04/06/2016   KN    Email exchange with F. McGinn regarding scheduled        0.10   $ 250.00/hr      $ 25.00
                   2004 exams of Debtor D&Os
04/12/2016   KN    Attend 2004 exam of P. Bronder-Giroux                    3.00     $ 0.00/hr   No Charge
04/20/2016   KN    Review demand letter sent to P. Bronder-Giroux and       0.20     $ 0.00/hr   No Charge
                   A. Howser
04/21/2016   KN    Review demand letter from J. Horne to P. Bronder-        0.20   $ 250.00/hr      $ 50.00
                   Giroux and A. Howser regarding breach of fiduciary
                   duties w/r/t Tri-CAP
04/21/2016   KN    Emails to client regarding demand letter and auditors'   0.20   $ 250.00/hr      $ 50.00
                   reports
04/25/2016   KN    Email client 2013 and 2014 audits                        0.10   $ 250.00/hr      $ 25.00
04/26/2016   KN    Review emails from Committee members regarding           0.20   $ 250.00/hr      $ 50.00
                   Anne Howser 2004 exam; email to J. Horne regarding
                   same
05/03/2016   KN    Phone call with Creditors Committee, M. Fencer and       1.30   $ 250.00/hr     $ 325.00
                   J. Horne regarding status of D&O claims
05/03/2016   KN    Phone call with M. Sticca regarding status of case       0.20   $ 250.00/hr      $ 50.00
05/26/2016   KN    Email exchange with F. McGinn regarding status of        0.10   $ 250.00/hr      $ 25.00
                   D&O litigation
06/22/2016   KN    Email exchange with F. McGinn regarding transcripts      0.10   $ 250.00/hr      $ 25.00
                   of 2004 exam of P. Bronder-Giroux
06/29/2016   KN    Prepare for and hold phone conference with J. Morrier    1.30   $ 250.00/hr     $ 325.00
                   regarding ch. 11 plan and claim classification issues
07/11/2016   KN    Prepare for and attend meeting with J. Morrier, F.       5.00   $ 250.00/hr   $ 1,250.00
                   McGinn, and representatives from DHCD regarding
                   possible agreement on terms of chapter 11 plan;
                   meeting with J. Morrier regarding same
07/20/2016   KN    Prepare for and attend meeting with J. Morrier, J.       3.00   $ 250.00/hr     $ 750.00
                   Loughnane, and F. McGinn regarding possible plan
                   terms
07/20/2016   KN    Research LIHEAP, HEARTWAP, and DOE                       1.50   $ 250.00/hr     $ 375.00
                   Weatherization Programs
07/21/2016   KN    Email L. Vitale at DHCD regarding LIHEAP                 0.10   $ 250.00/hr      $ 25.00
                   regulations
07/21/2016   KN    Email M. Sticca regarding negotiations with Boston       0.10   $ 250.00/hr      $ 25.00
                   Gas
07/26/2016   KN    Review and respond to email L. Vitale at DHCD            0.40   $ 250.00/hr     $ 100.00
                   regarding LIHEAP regulations
07/27/2016   KN    Conference call with F. McGinn and DHCD                  0.80   $ 250.00/hr     $ 200.00
                   representatives regarding LIHEAP funds, Eagle Bank
                   setoff, eligible creditors, and Boston Gas
08/22/2016   KN    Email committee members regarding next meeting           0.10   $ 250.00/hr      $ 25.00
08/22/2016   KN    Email J. Horne regarding A. Howser's deposition          0.10   $ 250.00/hr      $ 25.00
09/01/2016   KN    Phone call with J. Morrier regarding plan and claims     1.10   $ 250.00/hr     $ 275.00
                   issues and matters with DHCD
09/01/2016   KN    Prepare for and meet with Committee                      1.00   $ 250.00/hr     $ 250.00




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09/06/2016   KN    Review and respond to email from J. Morrier regarding   0.20   $ 250.00/hr      $ 50.00
                   structure of settlement with Boston Gas and DHCD
09/08/2016   KN    Email and phone call with J. Morrier regarding DHCD     1.20   $ 250.00/hr     $ 300.00
                   and plan issues, plus preparation time
09/14/2016   KN    Phone call with J. Morrier regarding potential          0.20   $ 250.00/hr      $ 50.00
                   settlement of claims with DHCD, Boston Gas, and
                   Eagle Bank
09/15/2016   KN    Phone call with F. McGinn regarding DHCD's position     0.40   $ 250.00/hr     $ 100.00
                   on Eagle Bank setoff and possible settlement
09/19/2016   KN    Phone call with J. Morrier regarding Eagle Bank,        0.20   $ 250.00/hr      $ 50.00
                   DHCD, and plan issues
09/21/2016   KN    Phone call with J. Horne and M. Fencer regarding        0.20   $ 250.00/hr      $ 50.00
                   status of deposition and D&O claim
09/28/2016   KN    Review email from J. Morrier regarding possible DHCD    0.80   $ 250.00/hr     $ 200.00
                   Boston Gas settlement; email to client regarding
                   same
09/28/2016   KN    Review and respond to email from J. Horne regarding     0.10     $ 0.00/hr   No Charge
                   deposition
11/14/2016   KN    Review and respond to email from P. Bachtell            0.10   $ 250.00/hr      $ 25.00
                   regarding status of D&O litigation
11/17/2016   KN    Review email from J. Morrier regarding potential N.     0.20   $ 250.00/hr      $ 50.00
                   Grid / Eagle Bank settlement
11/30/2016   KN    Email client regarding National Grid counteroffer and   0.30   $ 250.00/hr      $ 75.00
                   settlement analysis
12/01/2016   KN    Review and respond to email from Committee member       0.50   $ 250.00/hr     $ 125.00
                   regarding deposition of A. Howser and National Grid
                   proposal; calculate alternative outcome if no
                   differential treatment
12/05/2016   KN    Committee meeting to discuss negotiations between       0.80   $ 250.00/hr     $ 200.00
                   debtor, Committee, Eagle Bank and National Grid
01/30/2017   KN    Review and respond to email from M. Fencer              0.10   $ 250.00/hr      $ 25.00
                   regarding counsel for D&O litigation
02/28/2017   KN    Meeting with M. Fencer to discuss status of D&O         0.40   $ 250.00/hr     $ 100.00
                   litigation and potential successor counsel
03/08/2017   KN    Prepare for and attend committee meeting to discuss     1.50   $ 250.00/hr     $ 375.00
                   D&O litigation with special counsel
03/08/2017   KN    Email exchange with J. Morrier regarding status of      0.10   $ 250.00/hr      $ 25.00
                   negotiations with DHCD and National Grid
03/26/2017   KN    Review draft Chapter 11 Plan, LIHEAP Settlement         2.30   $ 250.00/hr     $ 575.00
                   Agreement, and Asset Purchase Agreement
03/27/2017   KN    Email J. Morrier regarding plan and side agreements,    0.30   $ 250.00/hr      $ 75.00
                   and motion for derivative standing
03/27/2017   KN    Review and respond to email from J. Morrier regarding   0.20   $ 250.00/hr      $ 50.00
                   Committee's questions about draft plan and
                   agreements
03/27/2017   KN    Draft Motion for Authority to Bring D&O Claims          2.70   $ 250.00/hr     $ 675.00




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03/27/2017   KN    Email J. Morrier regarding assumption and rejection of     0.20   $ 250.00/hr      $ 50.00
                   leases in plan
03/28/2017   KN    Review and respond to email from J. Morrier regarding      0.10   $ 250.00/hr      $ 25.00
                   motion for derivative standing
03/29/2017   KN    Review and respond to email from J. Morrier regarding      0.20   $ 250.00/hr      $ 50.00
                   motion for committee to bring D&O claims with
                   attachment
03/29/2017   KN    Prepare for and hold call with J. Morrier regarding        0.30   $ 250.00/hr      $ 75.00
                   plan, disclosure statement, side agreements, and
                   timing of related issues
03/30/2017   KN    Phone call with M. Fencer regarding successor              0.20   $ 250.00/hr      $ 50.00
                   counsel for D&O litigation
03/30/2017   KN    Review and respond to email from M. Fencer                 0.10   $ 250.00/hr      $ 25.00
                   regarding counsel for D&O litigation
03/31/2017   KN    Email potential special counsel regarding representing     0.10   $ 250.00/hr      $ 25.00
                   committee in D&O litigation
03/31/2017   KN    Draft correspondence to committee members                  0.80   $ 250.00/hr     $ 200.00
                   regarding plan, committee recommendation, status of
                   D&O litigation, and successor counsel
04/02/2017   KN    Review and respond to email from committee member          0.40   $ 250.00/hr     $ 100.00
                   regarding anticipated dividend under the plan
04/02/2017   KN    Email potential special counsel regarding claim            0.10   $ 250.00/hr      $ 25.00
                   against D&O of Debtor
04/03/2017   KN    Review Debtor's Assent to Expedited Motion for             0.10     $ 0.00/hr   No Charge
                   Authority to Assert and Prosecute Insider Claims in
                   the Name of and on Behalf of the Estate and to
                   Compromise Such Claims
04/03/2017   KN    Email exchange with Committee members regarding            0.10   $ 250.00/hr      $ 25.00
                   support for chapter 11 plan
04/03/2017   KN    Email J. Morrier regarding status of plan and              0.10   $ 250.00/hr      $ 25.00
                   disclosure statement
04/03/2017   KN    Revise, finalize and file Expedited Motion for Authority   0.40   $ 250.00/hr     $ 100.00
                   to Prosecute Insider Claims
04/03/2017   KN    Email exchange with potential special counsel              0.20   $ 250.00/hr      $ 50.00
                   regarding D&O litigation
04/04/2017   KN    Email exchange with M. Fencer regarding work               0.10   $ 250.00/hr      $ 25.00
                   product for D&O litigation
04/04/2017   KN    Email potential special counsel re transcripts from        0.10   $ 250.00/hr      $ 25.00
                   2004 exams
04/04/2017   KN    File COS re: Notice of Hearing re: Motion for              0.10   $ 250.00/hr      $ 25.00
                   Order/Authority
04/11/2017   KN    Phone call and email with potential special counsel        0.30   $ 250.00/hr      $ 75.00
                   regarding claims against D&O of Debtor
04/12/2017   KN    Emails to potential special counsel re claims against      0.30   $ 250.00/hr      $ 75.00
                   D&O of the Debtor
04/12/2017   KN    Prepare for and attend hearing on Committee's Motion       2.50   $ 250.00/hr     $ 625.00
                   for Derivative Standing




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04/14/2017   KN    Email exchange with client regarding status of efforts     0.30   $ 250.00/hr      $ 75.00
                   to retain successor special counsel and filing of
                   Debtor's plan and disclosure statement
04/15/2017   KN    Review Disclosure Statement and Exhibits and               1.20   $ 250.00/hr     $ 300.00
                   Review Motion to Approve Disclosure Statement and
                   Plan Solicitation Procedures filed by Debtor
04/20/2017   KN    Draft Application to Employ Dalton & Finegold LLP as       0.70   $ 250.00/hr     $ 175.00
                   Special Counsel
04/20/2017   KN    Email and phone call with J. Redlener regarding            0.30   $ 250.00/hr      $ 75.00
                   application to employ and complaint
04/25/2017   KN    Email exchange with J. Redlener regarding refiling         0.20   $ 250.00/hr      $ 50.00
                   complaint
04/25/2017   KN    File Declaration of Electronic Filing for Application to   0.10   $ 250.00/hr      $ 25.00
                   Employ Dalton and Finegold
04/26/2017   KN    Email exchange with J. Redlener regarding filing of        0.10   $ 250.00/hr      $ 25.00
                   amended complaint
05/04/2017   KN    Review Settlement Agreement between Debtor and             0.10   $ 250.00/hr      $ 25.00
                   Michael Brandano d/b/a Brandano Plumbing and
                   Heating; Review Motion filed by Debtor to Approve
                   Settlement Agreement
05/05/2017   KN    Review Order granting Application to Employ Dalton &       0.10   $ 250.00/hr      $ 25.00
                   Finegold, LLP
05/11/2017   KN    Email client regarding Brandano Settlement, Creditor       0.50   $ 250.00/hr     $ 125.00
                   Trust, Disclosure Statement, and amended complaint
05/11/2017   KN    Review creditor trust agreement; email to Debtor's         0.20   $ 250.00/hr      $ 50.00
                   counsel regarding same
05/16/2017   KN    Review Limited Objection to Disclosure Statement           0.10   $ 250.00/hr      $ 25.00
                   filed by Creditor Malden Redevelopment Authority
05/16/2017   KN    Revise creditor trust agreement; email exchange with       0.40   $ 250.00/hr     $ 100.00
                   Debtor's counsel regarding same
05/17/2017   KN    Review Supplement to Debtor's Liquidating Plan dated       0.10   $ 250.00/hr      $ 25.00
                   4/14/17
05/19/2017   KN    Review Chapter 11 Plan of Reorganization filed by          0.10   $ 250.00/hr      $ 25.00
                   Debtor
05/23/2017   KN    Review Debtor's Response re: Limited Objection to          0.10   $ 250.00/hr      $ 25.00
                   Disclosure Statement; Review Withdrawal re: Limited
                   Objection to Disclosure Statement filed by Creditor
                   Malden Redevelopment Authority
05/24/2017   KN    Review Amended Disclosure Statement for Debtor's           0.20   $ 250.00/hr      $ 50.00
                   Liquidating Chapter 11 Plan dated 4/14/17
05/24/2017   KN    Prepare for and attend hearing on Approval of Debtor's     2.50   $ 250.00/hr     $ 625.00
                   Disclosure Statement
05/25/2017   KN    Review Notice of (A) Approval of Disclosure                0.10   $ 250.00/hr      $ 25.00
                   Statement; (B) Hearing on Confirmation of the Plan;
                   (C) Deadline for Objecting to Confirmation of the Plan;
                   (D) Procedures and Deadlines for Voting on the Plan;
                   (E) Administrative Claim Bar Date re: Chapter 11 Plan




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06/29/2017    KN        Email client regarding ballots for acceptance of           0.10      $ 250.00/hr       $ 25.00
                        chapter 11 plan
07/07/2017    KN        Review Affidavit of John T. Morrier Regarding              0.10      $ 250.00/hr       $ 25.00
                        Solicitation and Tabulation of Voting on Debtor's
                        Liquidating Plan
07/08/2017    KN        Review proposed order confirming debtor's liquidating      0.30      $ 250.00/hr       $ 75.00
                        plan
07/10/2017    KN        Review Settlement Agreement and Limited Mutual             0.10      $ 250.00/hr       $ 25.00
                        Release and Acadia Insurance Group LLC Assented
                        to Motion to Approve Settlement Agreement
07/10/2017    KN        Prepare for and attend hearing on confirmation of          1.50      $ 250.00/hr     $ 375.00
                        chapter 11 liquidating plan
09/06/2017    KN        Email exchange with client regarding status of             0.10      $ 250.00/hr       $ 25.00
                        Debtor's closing
09/06/2017    KN        Phone call with J. Morrier and J. Redlener regarding       0.50        $ 0.00/hr    No Charge
                        Tri-CAP D&O litigation discovery issues
11/13/2017    KN        Email exchange with J. Morrier regarding closing date      0.10      $ 250.00/hr       $ 25.00
11/22/2017    KN        Review and respond to email from J. Morrier regarding      0.10      $ 250.00/hr       $ 25.00
                        anticipated closing date
12/13/2017    KN        Email exchange with J. Morrier regarding closing date      0.10      $ 250.00/hr       $ 25.00
12/14/2017    KN        Email client regarding closing date and status of D&O      0.20      $ 250.00/hr       $ 50.00
                        litigation
12/26/2017    KN        Review and respond to email from J. Morrier regarding      0.30      $ 250.00/hr       $ 75.00
                        closing and final figures for distribution pursuant to
                        Plan and LIHEAP Settlement

In Reference To: Tri-CAP (Expenses)

Date          By        Expenses                                                                              Amount
06/30/2015    KN        Copies - Application to Employ KEN as Counsel                                           $ 6.60
06/30/2015    KN        Postage - Application to Employ KEN as Counsel                                         $ 10.78
08/28/2015    KN        Copies - Opposition to HHS's Motion for Relief                                          $ 7.50
08/28/2015    KN        Postage - Opposition to HHS's Motion for Relief                                        $ 12.25
02/22/2016    MS        Postage - Application to Employ Jager Smith as Special Counsel                         $ 52.17
02/22/2016    MS        Copies - Application to Employ Jager Smith as Special Counsel                          $ 99.90
04/21/2017    KN        Copies - Application to Employ Dalton & Finegold as Special Counsel                  $ 109.80
04/21/2017    KN        Postage - Application to Employ Dalton & Finegold as Special Counsel                   $ 56.12


                                                                                          Total Hours       113.80 hrs
                                                                                      Total Services       $ 27,425.00
                                                                                     Total Expenses          $ 355.12
                                                                                Total Invoice Amount       $ 27,780.12
                                                                                   Previous Balance             $ 0.00
                                                                               Balance (Amount Due)        $ 27,780.12




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User Hours Summary

Billing Period: 06/29/2015 - 07/02/2018


User Hour Totals

User                                          Hours Billed          Rate/Hour             Amount Billed
Kate E Nicholson                                   109.70             $250.00                $27,425.00
Kate E Nicholson                                      4.10            $250.00                     $0.00




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                                                                                EXHIBIT E


                             IV: ATTORNEY BIOGRAPHY

 Kate E. Nicholson -- Kate Nicholson is a founding partner of the firm of Nicholson
 Herrick LLP in Cambridge, Massachusetts, and was formerly the sole member of
 Nicholson Shepard LLC. Ms. Nicholson specializes in representing individuals, small
 businesses, and trustees in all variety of bankruptcy matters. Ms. Nicholson is a member
 of the American Bankruptcy Institute (ABI), where she served on the Chapter 7
 Committee of the ABI Consumer Bankruptcy Commission, and is a member of the
 Boston Bar Association, where she is serving as co-chair of the BBA Bankruptcy
 Section’s Public Service Committee and as a member of its Strategic Planning
 Committee and Steering Committee. Ms. Nicholson has presented on a wide range of
 bankruptcy issues at events such as the Federal Judicial Center’s training for bankruptcy
 judges and the National Consumer Law Center’s consumer rights litigation conference.
 She has written articles and educational materials for the Norton Annual Survey of
 Bankruptcy Law, the Boston Bar Association, Massachusetts Continuing Legal
 Education, and the American Bankruptcy Institute and is co-editor for Consumer
 Bankruptcy Law for the Norton Annual Survey of Bankruptcy Law. Ms. Nicholson was
 honored as one of the ABI's "40 Under 40" in 2017. In addition to practicing as an
 attorney, Ms. Nicholson teaches legal research and writing at Boston University School
 of Law. Ms. Nicholson received her B.A. from the University of Pittsburgh and her J.D.
 from Harvard Law School.
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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS

______________________________
                              )
IN RE:                        )
                              )                      CHAPTER 11
TRI-CITY COMMUNITY            )                      CASE NO. 15-11569-JNF
ACTION PROGRAM, INC           )
                              )
            DEBTOR            )
______________________________)

                                CERTIFICATE OF SERVICE

       I, Kate E. Nicholson, certify that I have sent a copy of this Application of Kate E.
Nicholson for Compensation and Reimbursement of Expenses as Counsel to The Official
Committee of Unsecured Creditors via first-class mail, postage prepaid, to the parties on the
attached list who do not receive electronic notice via ECF.


                                             /s/ Kate E. Nicholson
                                             Kate E. Nicholson (BBO# 674842)
                                             Nicholson Herrick LLP
                                             21 Bishop Allen Dr.
                                             Cambridge, MA 02139
                                             (857) 600-0508
                                             knicholson@nicholsonherrick.com

Dated: July 3, 2018




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Electronic Mail Notice List

The following is the list of parties and attorneys who are currently on the list to receive email
notice/service for this case.

     •   Paula R.C. Bachtell paula.bachtell@usdoj.gov
     •   Joseph H. Baldiga jbaldiga@mirickoconnell.com, bankrupt@mirickoconnell.com
     •   Howard P. Blatchford hblatchford@jagersmith.com
     •   John Chamberlain bchamberlain@LynchLynch.Com
     •   John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
     •   John Foley jfoley@foley-legal.com
     •   Jonathan Green jonathan.green@state.ma.us
     •   Jonathan Horne jhorne@murthalaw.com, lmulvehill@murthalaw.com
     •   Matthew A. Kane kane@laredosmith.com, doyle@laredosmith.com
     •   Kevin J. Kiely Kevin@Oldharborlaw.com
     •   David Koha koha@casneredwards.com, luo@casneredwards.com
     •   John G. Loughnane jloughnane@nutter.com, jryan@nutter.com
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     •   Frank McGinn ffm@bostonbusinesslaw.com
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         knicholson@ecf.courtdrive.com;ekropelin@nicholsonherrick.com
     •   Daniel Occena doccena@occenalaw.com, occenadr72847@notify.bestcase.com
     •   Mark W. Powers mpowers@bowditch.com, salers@bowditch.com
     •   Jesse I. Redlener jredlener@ascendantlawgroup.com
     •   Jordan L. Shapiro JSLAWMA@aol.com
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Manual Notice List

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Ronald Pierre-Louis
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Hyde Park, MA 02136
	




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